









02-10-325-CV














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COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

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NO. 02-10-00325-CV 

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  In the Interest of A.K.P.M., A
  Child
  
  
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FROM THE
325th District Court OF Tarrant
COUNTY

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MEMORANDUM OPINION[1] AND
JUDGMENT

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On September
30, 2010, and October 12, 2010, we notified appellant, in accordance with rule
of appellate procedure 42.3(c), that we would dismiss this appeal unless the
$175 filing fee was paid.&nbsp; See
Tex. R. App. P. 42.3(c).&nbsp; Appellant has not
paid the $175 filing fee.&nbsp; See
Tex. R. App. P. 5, 12.1(b).

Because
appellant has failed to comply with a requirement of the rules of appellate
procedure and the Texas Supreme Court’s order of August 28, 2007,[2]
we dismiss the appeal.&nbsp; See Tex.
R. App. P. 42.3(c), 43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.&nbsp; See Tex. R. App. P. 43.4.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER CURIAM

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PANEL:&nbsp; WALKER, MCCOY, and
MEIER, JJ.

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DELIVERED:&nbsp; November 10, 2010











[1]See Tex. R. App. P. 47.4.





[2]See Supreme Court of
Tex., Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation,
Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).







